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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                      )
                                                               )                8:12CR70
                           Plaintiff,                          )
                                                               )
         vs.                                                   )                  ORDER
                                                               )
ISRAEL MENDOZA,                                                )
                                                               )
                           Defendant.                          )


         This matter is before the court on the motion for an extension of time by defendant Israel Mendoza
(Mendoza) (Filing No. 106). Mendoza seeks additional time in which to file pretrial motions in accordance with
the progression order. Upon consideration, the motion will be granted as set forth below.


         IT IS ORDERED:
         Defendant Mendoza's motion for an extension of time (Filing No. 106) is granted. Mendoza is given until
on or before April 30, 2012, in which to file pretrial motions pursuant to the progression order. The ends of
justice have been served by granting such motion and outweigh the interests of the public and the defendant
in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time between April

17, 2012, and April 30, 2012, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


         DATED this 17th day of April, 2012.
                                                               BY THE COURT:
                                                               s/ Thomas D. Thalken
                                                               United States Magistrate Judge
